                       Case 1:18-cv-05056-ELR Document 2-1 Filed 11/01/18 Page 1 of 2


AO 440 (Rev. 06/12)    Suininoi'is     in a Civil   Action



                                                    UNITED                       STATES             DISTRICT                    COURT
                                                                                                 for the




         MT. HAWLEY             INSURANCE                    COMPANY,




                                     Plainti(s)

                                            V.                                                                Civil    Action    No.     1:18-cv-5056
    ANTONIO         BRADY, LD DEERFIELD,  LLC, and
  SUNSHINE         PROPERTY'   MANAGEMENT   GROUP,
                             LLC


                                 Defendant(s)


                                                                     SUMMONS                    IN A CmL          ACTION


TO: (Defendant'snameandaddress)                      LD DEERFIELD, LLC,
                                                     C/O MATTHEW    B NORTON (REGISTERED                                        AGENT)
                                                     3424 PEACHTREE    ROAD NE, SUITE 1600
                                                     ATLANT A, GA 30326




          A lawsuit        has been filed              against     you.


          Within      21 days a'fter service                  of tliis     summons            on you (not counting         tlie day you received        it) -     or 60 days if you
are tlie United       States or a United               States agency,              or an officer     or employee         of the United       States described       in Fed. R. Civ.
P. 12 (a)(2)    or (3) -        you must serve on the plaintiff                          an answer         to tlie attaclied     complaint    or a motion       under   Rule 12 of
tlie Federal   Rules of Civil               Procedure.          The answer            or motion      must be served on tlie plaintiff            or plaintiff's      attorney,
wliose   name and address are:                       KIM M. JACKSON
                                                     DAVID RUSSELL    SMITH
                                                     BOVIS, KYLE, BURCH & MEDLIN,                               LLC
                                                     200 ASHFORD   CENTER NORTH,                                SUITE     500
                                                     ATLANT A, GA. 30338-2668



           If you fail to respond,                  judgment       by default          will     be entered     against   you for the relief      demanded         in tlie complaint.
YOLI also must file your answer                      or motion           witli    tlie couit.


                                                                                                                 JAMES N. HATTEN
                                                                                                                      CLERK     OF COURT



Date:           11/01/2018                                                                                                    s/ Brittany Poley
                                                                                                                                   Sigwture of Clerlc or Deputy Clerk
                             Case 1:18-cv-05056-ELR Document 2-1 Filed 11/01/18 Page 2 of 2


AO 440 (Rev. 06/12)         Stiininons    in a Civil   Action   (Page 2)


 Civil   Action      No.


                                                                                   PROOF       OF SERVICE

                             (This section shoxild ziot be filed with tlie court uidess required by Fed. R. Civ. P. 4 (l))

              This summons for 0iame of iridisiidual and title, if an)i)
 was received         by ine on           (date)




              0    I personally            served tlie summons                on tlie individual      at (place)

                                                                                                                  On   (date)                                                  ; or



              [1 I left the summons                    at the individual's         residence       or usual place of abode witli                   (name)


                                                                                         , a person     of suitable         age and discretion                     wlio   resides tliere,

              on   (date)                                             , and mailed      a copy to tlie individual's                last known         address;            or


              [1 I served the summons on (name ofindividual)                                                                                                                                , W)10 !S

              designated by law to accept service of process on behalf of Oiame of orgariization)
                                                                                                                  On   (date)                                                  ; 01"



              Cl I returned              tlie summons           unexecuted       because                                                                                                        ; Ola



              n Otlier (specify).'




              My fees are $                                           for travel    and $                               for services,          for a total            of $             0.00



              I declare        under penalty             of peijury        that this information       is true.




 Date:
                                                                                                                                  Server    's signature




                                                                                                                                Printed     name   and     title




                                                                                                                                   Server    's address



 Additional        information             regarding        attempted        service,   etc:
